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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )               MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court upon remand from the
United States Court of Appeals for the Eighth Circuit (“Eighth

Circuit”).    Defendant was convicted by a jury in 2004 of one

count of conspiracy to distribute and possess with intent to

distribute crack cocaine in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1), and 846.     See U.S. v. McKoy, 665 F.3d 968, 969 (8th

Cir. 2011).     This Court found defendant responsible for more than

1.5 kilograms (100.06 kilograms total) of cocaine base (“crack”

cocaine) and found defendant at a criminal history category VI

for sentencing purposes.      Id.   Defendant’s original sentencing
guideline range was 360 months to life.           Id.   This Court

sentenced him to 348 months with a 12-month credit for time

served.   Id.

           One month after defendant’s sentencing, the United

States Supreme Court decided United States v. Booker, 543 U.S.

220 (2005).     In light of this decision and upon remand from the

Eighth Circuit, this Court sentenced defendant to 300 months,

giving him a 60-month variance from his guideline range.                McKoy,

at 969.
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           In March 2011, defendant filed a motion to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2), based upon amendment

706 to the United States Sentencing Commission Guidelines Manual.

See Filing No. 442.      This amendment became effective in 2007,

lowering the base offense levels for crack cocaine offenses.

McKoy, at 969.    Section 3582(c)(2) provides the district court

with “discretionary authority to reduce a defendant’s term of

imprisonment if the original sentence was ‘based on a sentencing

range that has subsequently been lowered by the Sentencing
Commission . . . if such a reduction is consistent with

applicable policy statements issued by the Sentencing

Commission.’”    Id.    This Court denied the motion, finding

amendment 706 was not retroactive.         See Filing No. 444.         The

Eight Circuit disagreed, reversed and remanded the case for this

Court to reconsider defendant’s motion in light of the fact that

amendment 706 has retroactive effect.          See U.S.S.G. § 1B1.10(c)

(2011).

           “[W]hile this appeal was pending, the Sentencing
Commission made changes to the policy statement applicable to

§ 3582(c)(2) motions.”      McKoy, at 970.       Pursuant to U.S.S.G.

§1B1.10(b)(2), sentence reductions below a defendant’s amended

guideline range are allowed only in instances where defendant has

provided substantial assistance to the government.1              See U.S.S.G.


      1
       Defendant, in this case, did not provide “substantial
assistance” to the government, and thus, would not be eligible
for a sentence reduction below his guideline range under this
policy statement.

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§ 1B1.10(b)(2) (2011).      The Eighth Circuit has instructed this

Court to consider whether this newer version of the relevant

policy statement applies, or if the previous version, which does

not contain the provision related to “substantial assistance”

applies.

            The Court finds the newer version applies.             The

Sentencing Commission’s policy statements are binding on district

courts deciding § 3582(c) motions.          See Dillon v. United States,

130 S. Ct. 2683, 2692-93 (2010).        Furthermore, Application Note
6. to U.S.S.G. § 1B1.10 provides “ . . . the court shall use the

version of this policy statement that is in effect on the date on

which the court reduces the defendant’s term of imprisonment as

provided by 18 U.S.C. § 3582(c).”          U.S.S.G. § 1B1.10 cmt. n.6

(2011).

            Such finding, however, is not relevant to defendant’s

case because defendant does not qualify for a reduction of

sentence.    Defendant’s amended guideline range for 100.06

kilograms of crack cocaine and a criminal history category VI is
360 months to life.     Thus, the Court finds the defendant is not

entitled to a sentence reduction.          A separate order will be

entered in accordance with this memorandum opinion.

            DATED this 19th day of June, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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